Case 2:21-cv-03056-DSF-PD Document 77-10 Filed 07/19/21 Page 1 of 2 Page ID #:1576




                           EXHIBIT 8
                                    Case 2:21-cv-03056-DSF-PD Document 77-10 Filed 07/19/21 Page 2 of 2 Page ID #:1577


USER INFO
                First Name:             Middle Name:       Last Name:                                       SSN:                        DOB:           Credit Card Statement Name:    Email:
                理志                                         周                                                                            REDACTED       CUJIAMAOYIY                    1979761568@qq.com

BUSINESS INFO
                Name:                   URL:               Customer Service Phone:
                义乌市促佳贸易有限公司

ACCOUNT INFO
                Account Status:         Account #:         Account Type:                                    Time Created:
                Warning                 *1                 Business ‐ Chinese Verified ‐ Cat405MF (China)   Jul 29, 2017 01:03:39 PDT

E‐MAIL
                E‐mail                  Primary            Confirmed                                        Active
                1979761568@qq.com       X                  X                                                X
                1156979741@qq.com
                1599537242@qq.com

PHONE NUMBERS
                Phone Number            Type               Confirmation Status
                +86 15257521876         Work ‐ Deleted     Unconfirmed
                +86 15397560875         Work ‐ Deleted     Unconfirmed
                +86 18267041623         Mobile             Unconfirmed
                +86 8618267041623       Mobile             Confirmed

BANKS
                Type                    Status             Confirmed                                        Bank Name                   Name           Routing #                      Bank Acct #
                Checking                Active ‐ Primary   Unconfirmed (rand dep not yet initiated)         BANK OF AMERICA, N.A.       周理志                               122101706
                Checking                Active             Unconfirmed (rand dep not yet initiated)         BANK OF AMERICA, N.A.       周理志                               121000358
                Checking                Active             Unconfirmed (rand dep not yet initiated)         CITIBANK NA                 义乌市促佳贸易有限公司                        31100209

CREDIT CARDS
                Type                    Status             Confirmed                                        Name                        CC Number      Exp.                           Currency




                CUP
                Debit                   Active             RdChg                                            理志 周                        REDACTED0360   REDACTED                       CNY
